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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS



DENISE REMHOF, individually and on
behalf of herself and all others similarly
situated,
                                              Civil Action No. 1:23-cv-10493-PBS
                       Plaintiff,

       v.

LASTPASS US LP and GOTO
TECHNOLOGIES USA, INC.,

                       Defendants.


DEBT CLEANSE GROUP LEGAL
SERVICES, LLC, individually and on behalf
of all others similarly situated,
                                              Civil Action No. 1:22-cv-12047-PBS
                       Plaintiff,

       v.

GOTO TECHNOLOGIES USA, INC. and
LASTPASS US LP,

                       Defendants.


JOHN DOE, individually and on behalf of all
others similarly situated,

                       Plaintiff,             Civil Action No. 1:23-cv-10004-PBS

       v.

LASTPASS US LP,

                       Defendant.
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R. ANDRE KLEIN, individually and on
behalf of all others similarly situated,

                      Plaintiff,           Civil Action No. 1:23-cv-10122-PBS

       v.

LASTPASS US LP, and GOTO
TECHNOLOGIES USA, INC.,

                      Defendants.


STEVEN CARTER, individually and on
behalf of all others similarly situated,

                      Plaintiff,           Civil Action No. 1:23-cv-10092-DJC

       v.

LASTPASS US LLC,

                      Defendant.


NATHAN GOLDSTEIN, individually and on
behalf of all others similarly situated,

                      Plaintiff,           Civil Action No. 1:23-cv-10320-PBS

       v.

LASTPASS US LP and GOTO
TECHNOLOGIES USA, INC.,

                      Defendants.
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DAVID ANDREW, individually and on
behalf of all others similarly situated,

                      Plaintiff,           Civil Action No. 1:23-cv-10338-PBS

       v.

LASTPASS US LP and GOTO
TECHNOLOGIES USA, INC.,

                      Defendants.


ALAN MURPHY, JR., individually and on
behalf of all others similarly situated,

                      Plaintiff,           Civil Action No. 1:23-cv-10415-PBS

       v.

LASTPASS US LP and GOTO
TECHNOLOGIES USA, INC.,

                      Defendants.


STEVEN LINTHICUM, individually and on
behalf of all others similarly situated,

                      Plaintiff,           Civil Action No. 1:23-cv-10502-PBS

       v.

LASTPASS US LP,

                      Defendant.




APPLICATION OF MICHAEL R. REESE AND REESE LLP FOR APPOINTMENT AS
     INTERIM CO-LEAD CLASS COUNSEL AND KEVIN LAUKAITIS FOR
  APPOINTMENT AS A MEMBER OF A PLAINTIFFS’ STEERING COMMITTEE
        PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 23(g)
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                                        INTRODUCTION

       Several firms are applying for leadership in the above-captioned actions. Given the equal

caliber of the competing groups, plaintiff Denise Remhof and her counsel, Reese LLP, respectfully

request that Your Honor select one firm from each of the competing groups and appoint them as

co-lead interim class counsel. Appointing attorneys from the several competing groups would

follow the recent trend in data breach cases such as this one, where the Court selects lawyers from

competing groups to best serve the interest of the proposed classes. See, e.g., In re: Blackbaud,

Inc. Customer Data Breach Litig., No. 3:20-mn-02972-JMC (D.S.C.) (“Blackbaud”) (attached

hereto as Exhibit A); In re: Marriott Int’l Customer Data Sec. Breach Litig., No. 19-md-2879 (D.

Md.) (“Marriott”) (attached hereto as Exhibit B). It is also necessitated by the fact that data breach

cases often impact several different classes of people that should have different representation.

That is, in fact, the case here, as the data breach impacted businesses (such as that represented in

the matter of Debt Cleanse Group Legal Services, LLC v. GoTo Technologies USA, Inc., No. 1:22-

cv-12047-PBS (D. Mass.)); consumers from states without specific data breach statutes (such as

those represented in Andrew v. LastPass US LP, No. 1:23-cv-10338-PBS (D. Mass.), and

Goldstein v. LastPass US LP, No. 1:23-cv-10320-PBS (D. Mass.)); and consumers from states

such as California that have data-breach-specific statutes that provide for statutory damages (such

as those represented in Doe v. LastPass US LP, No. CGC-23-604214 (Cal. Super. Ct. San

Francisco Cty.) (attached hereto as Exhibit C)). Moreover, this proposal is consistent with the

guiding principle this Court follows -- that the appointment of a co-lead group should be

considered on a “case-by-case basis.” Emerson v. Genocea Biosciences, Inc., No. 17-cv-12137-

PBS, 2018 WL 839382, at *5 (D. Mass. Feb. 12, 2018) (Saris, J.). Given the unique facts and

proposed classes asserted in this case, a leadership group of attorneys picked by the Court would

serve the best interests of the proposed classes.

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         Michael Reese hereby respectfully seeks appointment as one of the co-lead interim class

counsel because it brings the necessary experience, skill, and dedication to this litigation to

effectively represent the proposed class members. Equally important, Reese LLP has the first case

on file representing California consumers impacted by the data breach, in which it will seek

statutory damages on behalf of these California consumers—which, by far, are the largest group

of consumers impacted by the data breach. This matter on behalf of the California class is pending

in California state court in San Francisco County (the “California State Court Action”).1 As

counsel in both the Remhof matter before your Honor and as counsel in the California State Court

Action, only Reese LLP can coordinate between the two matters.

         Finally, as discussed below, Reese LLP and its co-counsel Laukaitis Law Firm are the

only firms to have engaged in written settlement discussions with Defendants, LastPass and GoTo

Connect, on behalf of consumers. This factor also underscores why Reese LLP should be

appointed as one of the interim co-lead counsel.

         Reese LLP has extensive experience throughout the United States in consumer protection

class action litigation, including data breach and privacy-related class actions.2 Reese LLP has

more than sufficient resources to lead this litigation and is committed to prosecuting this action for

the benefit of the proposed class members, whether that entails extensive discovery, a jury trial,

and/or the negotiation and execution of a class-wide settlement. Reese LLP also brings important

diversity in areas such as geography, ethnicity, gender, and experience. Accordingly, Reese LLP

hereby respectfully requests to be appointed as co-lead counsel.



1
  The California State Court Action was filed in California state court in case Defendants raises
the argument in any of the federal cases that there is no Article III standing for consumers to pursue
their claims. Such an Article III argument does not apply in California state court.
2
    A copy of the the firm resume of Reese LLP is attached hereto as Exhibit D.

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                                            ARGUMENT

I.      Legal Standard

        A court may appoint interim co-lead class counsel before deciding whether the action may

be certified as a class. Fed. R. Civ. P. 23(g)(3).

        In determining the most appropriate and effective leadership structure and who best to

appoint to leadership roles, courts often consider the standards set forth in the Manual for Complex

Litigation, Fourth (2004) (“MCL” or “Manual”); see Malden Trans., Inc. v. Uber Tech., Inc., 323

F.R.D. 118, 120 (D. Mass. 2017) (citing MCL § 10.221 (2004)). The Manual explains that the type

of organizational structure most appropriate may vary depending on the specific facts of the case.

MCL § 10.221. For example, lead counsel “act for the group—either personally or by coordinating

the efforts of others—in presenting written and oral arguments and suggestions to the court,” and

in all other substantive, procedural, and strategic matters. Id. By contrast, liaison counsel is

typically responsible for more administrative matters, and they usually have offices in the same

locality as the court. Id. And courts sometimes appoint a steering committee, which is “most

commonly needed when group members’ interests and positions are sufficiently dissimilar to

justify giving them representation in decision making.” Id. In any type of structure, courts evaluate

“the attorneys’ ability to command the respect of their colleagues and work cooperatively with

opposing counsel and the court.” MCL § 10.224.

        In determining which counsel is best suited to act as interim class counsel, courts “have

frequently appointed more than one firm” when it is in the best interests of the proposed class

members to do so. Walker v. Discover Fin. Servs., No. 10-cv-6994, 2011 WL 2160889, at *3 (N.D.

Ill. May 26, 2011) (collecting cases).




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II.     The Court Should Appoint Michael Reese as One of the Co-Lead Interim Class Counsel

        A.      A Structure of Co-Lead Counsel from Different Groups Will Ensure the Best
                Representation for the Class

        Courts routinely appoint up to four firms from competing groups to act as co-lead interim

counsel. For example, in Blackbaud, the court took applications from 19 individuals for a

leadership position. The court then selected four individuals from four different firms to act as co-

lead counsel. Ex. A at 1-2. The court selected a fifth individual from another firm to act as liaison

counsel. Id. at 3. Finally, an additional 7 individuals were selected to act as the Plaintiff’s Steering

Committee. This structure drew on multiple groups, ensuring broad representation of the plaintiffs.

        Additionally, in Marriott, the court was faced with distinct groups of plaintiffs (i.e.,

consumer, financial institution, derivative action, and securities action), consolidated into a single

action. In response, the court appointed co-lead counsel for each group, including three counsel

for the consumers, two for the financial institutions, two for the derivative action, and four counsel

from the same firm for the securities action. Ex. B at 2-3. This structure ensured each group was

adequately represented in the leadership for case.

        The same approach makes sense in the present suit. In this case, there are currently several

different groups of plaintiffs. For example, the Debt Cleanse Group Legal Services LLC action

represents the interests of commercial customers, while Goldstein represents the interests of class

members. And while both actions seek to represent nationwide classes, not all of Defendants’

customers have the same legal rights.

        Specifically, Defendants’ customers in California have specific statutory claims under the

California Consumer Privacy Act, Cal. Civ. Code § 1798.100 et seq. (“CCPA”), which are not

available to the other consumer plaintiffs who do not reside in California. Along with the plaintiff

and the proposed class in Remhof v. LastPass US LP, No. 1:23-cv-10493-PBS (D. Mass), which


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is currently pending before your Honor, Reese LLP and the Laukaitis Law Firm also represent

California consumers in the California State Court Action. See Doe v. LastPass U.S. LLC, No.

CGC-23-604214 (Cal. Super. Ct. San Francisco Cty.). Because this is the only action filed on

behalf of California consumers in California, Reese LLP and the Laukaitis Law Firm are the only

firms in a position to coordinate between the cases before Your Honor and the California State

Court Action to protect those specific California consumer rights.3 As such, to create the judicial

efficiency consolidation is intended to achieve,4 while simultaneously protecting these California

consumers’ statutory rights, the Court should appoint Mr. Reese as co-lead counsel and Mr.

Laukaitis to a Plaintiff’s Steering Committee.




3
  While CCPA claims are not in the current Doe complaint, the Doe plaintiff is awaiting the elapse
of the 30 day notice period before amending to include those claims. That period will elapse, and
the Doe plaintiff will amend, on March 23, 2023. Thus, as of the date of the hearing on the present
motion, those claims will be pending.
4
 Because the present motion to consolidate is based on Federal Rule of Civil Procedure 42, see
Debt Cleanse Grp. Legal Servs., LLC, ECF No. 27 at 1, the Court does not have the power to
consolidate the state court action. See Driver v. Kern Cnty Super. Ct., No. 2:20-cv-01665-TLN-
KJN-P, 2022 WL 17629299, at *7 (E.D. Cal. Dec. 13, 2022) (“The court is not authorized to
consolidate the instant action with a case proceeding in state court.”); 9A C. Wright & A. Miller,
Federal Practice and Procedure § 2382 (3d. ed. Nov. 2018) (“a court may not consolidate an action
pending in federal court with an action pending in state court”).

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       B.      Mr. Reese Is Exceptionally Experienced in this Area and Satisfies the Rule
               23(g) Requirements

       Michael R. Reese is a former prosecutor from the Manhattan District Attorney’s Office.

He is a member of both the California and New York bars, and he has been litigating consumer

class actions for two decades in both states, as well as other jurisdictions throughout the United

States. Mr. Reese is also the founder of Reese LLP, a class action law firm that has litigated class

actions on behalf of consumers since 2008. With offices in New York, Minnesota, and California,

Reese LLP is comprised of a diverse team of skilled attorneys who have achieved significant

results on behalf of consumers for over a decade.

       Mr. Reese is a respected leader in class action litigation, having extensive experience

litigating consumer class actions throughout the United States. Mr. Reese has been the court

appointed co-lead class counsel in a number of class actions in which there have been several

plaintiffs’ attorneys competing for leadership, including, but not limited to: In re Seresto Flea and

Tick Collar Marketing, Sales Practices and Products Liability Litig., Master Case No. 1:21-cv-

04447 (N.D. Ill.); In re Fairlife Milk Products Marketing and Sales Practices Litig., Master Case

No. 1:19-cv-03924 (N.D. Ill.); and, In re Hills Pet Nutrition Sales and Marketing and Products

Liability Litig., No. 2:19-md-02887-JAR-TJJ (D. Kan.). Furthermore, Mr. Reese also has been

appointed as class counsel in numerous other class actions, including, but not limited to: Mitchell

v. Intero Real Estate Services, No. 5:18-cv-05623-BLF (N.D. Cal.); Howerton v. Cargill, Inc., No.

1:13-cv-00336-LEK-BMK (D. Haw.); Red v. Unilever United States, Inc., No. 5:10-cv-00387

(N.D. Cal.); and, Wong v. Alacer Corp. (Cal. Super. Ct. San Francisco Cty.).

       Mr. Reese has successfully litigated numerous class actions in which he has been appointed

as class counsel, resulting in hundreds of millions of dollars of recovery for consumers, as well as

significant injunctive relief that required companies to change their practices.


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        In addition to being a litigator, Mr. Reese is an active participant in the class action

community. Mr. Reese is an adjunct professor of law at Brooklyn Law School, where he has taught

the “The Law of Class Actions and Other Aggregate Litigation” since 2014. Mr. Reese is also a

frequent author on class actions, with articles appearing in publications by the American Bar

Association, the Union Internationale des Advocats, and the Illinois State Bar. Mr. Reese also

hosts or participates in a number of class-action-related conferences, including those organized by

Cambridge Forum, the Litigation Series, and CLE International.

        Recent achievements by Mr. Reese in class actions include a $21 million settlement in the

In re Fairlife Milk Products Marketing and Sales Practices Litigation and a $12.5 million dollar

class settlement in the In re Hills Pet Food Sales and Marketing and Product Liability Litigation.

        Mr. Reese also is an accomplished appellate lawyer, having argued successfully before the

Second, Seventh, and Ninth Circuit Courts of Appeal. Recent appellate victories by Mr. Reese

include Mantikas v. Kellogg Co., 910 F.3d 633 (2d Cir. 2018); Tri-State Water Treatment, Inc. v.

Bauer, 845 F.3d 350 (7th Cir. 2017) (applicability of class action removal under CAFA); and

Murphy v. Best Buy Stores L.P., 690 F. App’x 553 (9th Cir. 2017).

        Finally, as noted above, Mr. Reese, along with his co-counsel Mr. Laukaitis, is the only

attorney to have engaged in settlement discussions on behalf of consumers with Defendants,

LastPass and GoTo Connect, which have included the provision of a draft term sheet that includes

both monetary and injunctive relief components. The fact that Reese LLP undertook this effort

underscores its dedication to this matter and illustrates its initiative. It also demonstrates the ability

of Mr. Reese and his firm to work cooperatively with opposing counsel. See MCL § 10.224

(explaining courts will consider “the attorneys’ ability to command the respect of their colleagues

and work cooperatively with opposing counsel and the court”).



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         C.      Kevin Laukaitis of Laukaitis Law Firm Should Be Appointed to a Plaintiffs’
                 Steering Committee

         Kevin Laukaitis is the owner and founding member of Laukaitis Law Firm LLC.5 Laukaitis

Law Firm is a class action law firm based in Philadelphia, Pennsylvania, specializing in a variety

of complex litigation matters affecting consumers, including consumer protection, fraud,

mislabeling, data breach, and breach of contract. With his career rising, Mr. Laukaitis has already

recovered over $75 million to classes of consumers nationwide. While only in his eighth year of

practice, Mr. Laukaitis has played prominent roles in numerous class actions nationwide, including

data breach cases.

         Mr. Laukaitis served as class counsel in Quezada v. Arbitersports, LLC, No. 2:20-cv-05193

(E.D. Pa.), a data breach class action that resulted in a class-wide settlement of the claims of over

500,000 class members impacted by the breach. He is also involved in several other ongoing data

breach class actions. Mr. Laukaitis has also served as class counsel or co-lead counsel in a variety

of other class action cases, including within this District. See, e.g., Dill v. Palmco Energy MA LLC,

No. 1:19-cv-10983 (D. Mass.) (appointed class counsel and achieved a class-wide settlement for

thousands of Massachusetts residents who overpaid for electricity). Mr. Laukaitis also serves on

the Executive Committee, which is co-led by Mr. Reese, in the In re Seresto Flea and Tick Collar

Marketing, Sales Practices and Products Liability Litig., Master Case No. 1:21-cv-04447 (N.D.

Ill.). Accordingly, Mr. Laukaitis is qualified to be appointed to a Plaintiffs’ Steering Committee.




5
    Mr. Laukaitis’ Resume is attached as Exhibit E.

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                                         CONCLUSION

       A leadership structure of attorneys picked by the Court is the most appropriate and effective

means of organizing counsel for the different groups of plaintiffs in this case, which include

commercial entities and individual consumers. And appointment of Michael R. Reese of Reese

LLP as one of the co-lead interim class counsel will well serve the interests of consumers,

including the large number of California consumers who make up the majority of those affected

by the data breach at issue, and who have California-specific rights that need protection.

       Mr. Reese is a skilled, hands-on, dedicated attorney with extensive experience in class

action cases involving competing leadership, and he represents plaintiffs both in this case in

Massachusetts and in the California State Court Action. There is no better choice to ensure the

effective representation of the proposed class members than this Court appointing Michael Reese

to litigate this case as one of the co-lead interim counsel. Therefore, we respectfully request that

the Court grant this application for appointment of co-lead interim class counsel.

   Dated: March 6, 2023                         Respectfully submitted,

                                                 /s/ Michael R. Reese
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                                                 in the Remhof and California State Court Actions




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